         Case 3:12-cr-02956-BTM                          Document 73                Filed 07/23/15            PageID.208       Page 1 of 4

     ~AO 245D (CASD)      (Rev. 8/11) Judgment in a Criminal Case for Revocations                                              FILED
                Sheet 1
                                                                                                                                     0
                                                                                                                               "           ""'"
                                                                                                                               UVL   -
                                                                                                                                           'V'"
                                                                                       u.s. IlI5TRICT COURT
                                                UNITED STATES DISTRICT COUR l'~CLEFIK.
                                                                                 )RN OISTflICT OF CALIFOflNIA
                                                                                                                           •                      DEPUTY
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                           V.                                          (For Revocation of Probation or Supervised Release)
                   NICOLETTE JEAN REDD [2]                                             (For Offenses Committed On or After November I, 1987)


                                                                                       Case Number: 12CR2956·BTM

                                                                                       JENNIFER COON
                                                                                       Defendant's Attorney
    REGISTRATION No. 34124298
D
    THE DEFENDANT:
     IZIadmitted guilt to violation of allegation(s) No . .:lc:-3
                                                                ::..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number                         Nature of Violation
              I                Failure to test
             2-3               Failure to participate in drug treatment program




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                    4       of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UOlted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                       JULY 22, 2015
                                                                                      Date of Imposition of Sentence




                                                                                                                                         12CR2956-BTM
      Case 3:12-cr-02956-BTM                           Document 73         Filed 07/23/15          PageID.209          Page 2 of 4
AQ 2458        (Rev. 9/00) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page __2;;...._ of   4
DEFENDANT: NICOLETTE JEAN REDD [2]
CASE NUMBER: 12CR2956-BTM
                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED AS OF 8:00 A.M. ON JULY 24, 2015.


                                                                                                      BARRY T. D MOSKOWITZ
     o    The court makes the following recommendations to the Bureau of Prisons:                     UNITED TATES DISTRICT JUDGE




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                         Qi.m.     []p.m.     on
                  as notified by the United States Marshal.

     DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D      before
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:

          Defendant delivered on                                                        to

at                                                       with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL


                                                                           By ________~~~~~~~~~~--------
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                                 12CR2956-BTM
       Case 3:12-cr-02956-BTM                   Document 73              Filed 07/23/15         PageID.210            Page 3 of 4
AO 2450 (CASO) (Rev. 8111) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised ReleaBe
                                                                                                           Judgment Page       3       of   4
DEFENDANT: NICOLETTE JEAN REDD [2]                                                                 D
CASE NUMBER: 12CR2956-BTM
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ---

o The  above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).



o The defendant shaI1 participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                      ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the Probation officer;
  4)    the defendant shaH support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are itIegal1y sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shalt permit a probation officer to visit him or her at any time at home or elsewhere and shalt permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shalt notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notity third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shalt permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                   12CR2956-BTM
           Case 3:12-cr-02956-BTM                        Document 73    Filed 07/23/15         PageID.211             Page 4 of 4
        AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                       Judgment Page _ _4_     or __4"-_ _
        DEFENDANT: NICOLETTE JEAN REDD [2]                                                        o
        CASE NUMBER: l2CR2956-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant t
    this condition.

I8l Participate in a program of drug abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8 counseling
    sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
I8l Not enter the Republic of Mexico without written permission of the Court or probation officer.
I8l RepOll all vehicles owned or operated, or in which you have an interest, to the probation officer.
I8l Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
I8l Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
I8l Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o The defendant shall not discontinue mental health medication without written permission of his Doctor.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
I8l Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days. This is a non-punitive
    placement.
I8l Seek and maintain full time employment and/or schooling or a combination of both.
o   Abstain Ii·om all use of Alcohol.
o Complete an Anger Management Program as directed by the Probation Officer within 18 months of release.
o The defendant shall complete the "Volunteers of America" detox program.
I8l Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by the Probation Officer.
o States
  If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
         illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                   12CR2956-BTM
